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                               Cho Legal Group LLC
                               100 Plainfield Avenue
                               2d Floor, Ste 8E
                               Edison, NJ 08817
                               USA

                               Attention: Jae H. Cho

                                                                                                                17 September 2020
4th Floor
Harbour Centre                 Our Ref: 1649/20
42 North Church Street         Sent by: Email and International Courier
P.O. Box 2255
Grand Cayman
KY1-1107                       Dear Mr Cho,
Cayman Islands

Tel: 1-345-949-0003            Re: China AI Capital Limited
markrussell@ksglaw.ky
                                   Subscription Agreement with Link Motion Inc.
www.ksglaw.ky
                               We refer to our letter to you dated 10 September 2020 which was sent by
                               email. We adopt the defined terms used in that letter.

                               We have not received any response from you on the Receiver’s terms to agree
                               a Closing, nor have we received payment of US$10,000,000 in escrow funds.

                               Given your client’s lack of response or engagement on these terms, the
                               Receiver will now proceed with the necessary steps to forfeit the Unpaid
                               Shares in accordance with Link Motion’s rights and powers under the
                               Subscription Agreement and the Articles of Association.

                               All the Receiver’s and Link Motion’s rights are reserved.

                               Yours faithfully




                               KSG Attorneys at Law




         KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as revised) of the
         Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
